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MEMO ENDORSED
                                                              JEFFREY A. COHEN, ESQUIRE
                                                               Member of the NJ, PA & NY Bar
                                                                  Direct Dial: (856) 382-2240
                                                            E-Mail: jeff.cohen@flastergreenberg.com

                                                     January 8, 2021

  VIA ECF AND EMAIL
  Honorable Katherine Polk Failla, U.S.D.J.
  Southern District of New York
  40 Foley Square, Room 2103
  New York, NY 10007
  Failla_NYSDChambers@nysd.uscourts.gov

               Re: M3 Innovations Unlimited, Inc., et al. v. Ricatto
                   Civil Action No. 1:18-cv-08404-KPF
                   Ricatto’s Redacted and/or Withheld Documents for The Court’s In Camera
                   Review

  Dear Judge Failla:

        On behalf of Michael Ricatto (“Ricatto”), we respectfully submit this letter to this
  Honorable Court enclosing the documents that Your Honor ordered Ricatto to submit for Your
  Honor’s in camera review in order to adjudicate the parties’ motions. See Docket No. 83,
  December 23, 2020 Order.

          As you may recall, Ricatto filed a Motion to Quash M3’s Subpoenas on December 7, 2020
  and filed a related Letter Opposition to M3’s Motion to Compel Plaintiff/Counterclaim Defendant
  Michael Ricatto to produce unredacted copies of two documents, Bates-stamped RIC002585-2598
  and RIC002599-2611, respectively, as well as Anthony Finno’s engagement letter with his
  counsel. As outlined in Ricatto’s December 7, 2020 Motion to Quash M3’s Subpoenas, Ricatto
  maintains that these documents are privileged and have been properly redacted and/or withheld
  from production.

          Please note that pursuant to Your Honor’s instructions, Ricatto will file this letter on the
  public docket to demonstrate compliance with Your Honor’s December 23, 2020 Order but will
  submit the above-referenced documents to Your Honor’s Chambers for in camera review via email
  to the email address listed above.




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           Thank you in advance for your thoughtful consideration of these matters.

                                                       Respectfully Submitted,

                                                       FLASTER/GREENBERG P.C.




                                                       Jeffrey A. Cohen

  Enclosures
  JAC/kaj



The Court has reviewed the documents Plaintiff has submitted to the
Court for in camera review. (See Dkt. #83-84). After careful
review, the Court concludes that the engagement letter at issue in
Plaintiff's motion to quash: (i) contains no privileged
information; (ii) is not work product; and (iii) is relevant to
adjudicating Defendant's motion to compel. Accordingly,
Plaintiff's motion to quash Defendant's subpoena directed to
Anthony Finno is DENIED. Plaintiff shall produce the engagement
letter on or by January 15, 2021. The Clerk of Court is directed
to terminate the motion pending at docket entry 77.

Turning to Defendant's motion to compel, the Court is concerned
that the putatively privileged documents pre-date Mr. Finno's
engagement letter with counsel. Therefore, Plaintiff is hereby
directed to file an ex parte submission explaining how the
attorney-client privilege attaches to the disputed documents in
light of the date of Mr. Finno's engagement letter with counsel.
Plaintiff's supplemental ex parte submission shall be due on or by
January 22, 2021. Plaintiff shall email the submission to Chambers
using the following email address:
Failla_NYSDChambers@nysd.uscourts.gov.

Dated:         January 12, 2021                        SO ORDERED.
               New York, New York




  7950720_7                                            HON. KATHERINE POLK FAILLA
                                                       UNITED STATES DISTRICT JUDGE
